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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY Master Civil No. 0]-cv-12257
AVERAGE WHOLESALE PRICE
LITIGATION MDL NO. 1456

Judge Patti B. Saris

THIS DOCUMENT RELATES TO: CIVIL ACTION: 01-CV-12257-PBS

ASTRAZENECA CLASS 1 Judge Patti B. Saris

CLASS COUNSEL’S MOTION TO PARTIALLY DISTRIBUTE ASTRAZENECA
CLASS 1 SETTLEMENT FUNDS TO CY PRES RECIPIENTS

Class Counsel respectfully moves this Court for an order partially distributing the
remaining funds from the AstraZeneca Class | settlement to cy pres recipients. As set forth
more fully below, Class Counsel propose to distribute a total of $2.8 million to ZERO — The
Project to End Prostate Cancer to provide mobile prostate cancer testing and to CancerCare to
fund its Transportation Assistance Program for People With Cancer. After Class Counsel! have
further exhausted their efforts to locate additional relatives and next-of-kin for Class members
with uncashed checks, but in any event no later than April 29, 2011, Class Counsel will then
move the Court for a final distribution of the remaining settlement amount.

I. THE CLASS 1 ASTRAZENECA SETTLEMENT
On December 19, 2008, this Court granted final approval of Class I Plaintiffs’ settlement
with Defendant AstraZeneca Pharmaceuticals, L.P. (“AstraZeneca”). Dkt. No. 5802. The
Settlement provides that AstraZeneca pay authorized claims up to $24 million to Class members
who took Zoladex®, a drug used primarily in the treatment of prostate cancer. Under the terms
of the Settlement, all Class members who made valid claims received triple their damages.

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